            Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 1 of 6




Jacob S. Wessel, Esq ISB: 7529
THOMSEN HOLMAN WHEILER, PLLC
2635 Channing Way
Idaho Falls, ID 83404
Telephone (208) 522-1230
Fax (208) 522-1277
wessel@thwlaw.com

 Attorneys for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

ABBEY SESSIONS,                          )                   Case No. CV-2018-155
                                         )
   Plaintiff,                            )
                                         )
v.                                       )          COMPLAINT AND DEMAND
                                         )          FOR JURY TRIAL
EASTERN IDAHO HEALTH SERVICES )
INC., dba Eastern Idaho Regional Medical )
Center,                                  )
                                         )
   Defendants.                           )
____________________________________)

       Plaintiff ABBEY SESSIONS, for cause of action against Eastern Idaho Health Services,

Inc.(hereinafter “Eastern Idaho Health Services”) doing business as Eastern Idaho Regional

Medical Center, states and alleges as follows:


                                  NATURE OF THE ACTION

       1.      This is a claim under Title I of the Americans with Disabilities Act of 1990 to

correct unlawful employment practices on the basis of disability, to vindicate Plaintiff’s rights

and the rights of other qualified people with disabilities to fair treatment and equal opportunity,

and to make Plaintiff whole. Plaintiff Abbey Sessions is a qualified individual with a physical

1 - COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 2 of 6



impairment, which substantially limits her in one or more major life activities. Eastern Idaho

Health Services discriminated against Plaintiff Abbey Sessions in the terms and conditions of her

employment by firing her for her disability.

                              JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the subject matter of this complaint pursuant to

28 U.S.C. § 1331. This action is authorized and instituted pursuant to Section 107(a) of the

Americans with Disabilities Act of 1990 as amended (“ADA”), 42 U.S.C. § 12117(a) and

pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981(a).

       3.      The employment practices alleged herein were committed in the District of Idaho,

County of Bonneville.

                                      PARTIES

       4.      Plaintiff is a resident and citizen of the State of Idaho and at all times relevant

hereto was a resident of the County of Bonneville.

       5.       Defendant Eastern Idaho Health Services is an Idaho corporation doing business

in the State of Idaho, County of Bonneville.

       6.      Eastern Idaho Health Services employs and has employed during the relevant

period more than 15 employees. At all material times, Eastern Idaho Health Services was and is

an employer within the meaning of 42 U.S.C. § 12111(5)(A).

       7.      Plaintiff Abbey Sessions is a qualified individual with a disability for purposes of

42 U.S.C. § 12112(a), in that she has a physical impairment which substantially limits one or

more major life activities.

       8.      Eastern Idaho Health Services regarded and treated Plaintiff Abbey Sessions as a


2 - COMPLAINT AND DEMAND FOR JURY TRIAL
               Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 3 of 6



person with an impairment that substantially limited one or more major life activities. Plaintiff’s

ability to perform the essential functions of her position with Eastern Idaho Health Services was

limited as a result of the attitude of Eastern Idaho Health Services toward her impairments.

          9.      Despite her disability, at all relevant times Plaintiff was able to work and qualified

for the positions she held with Eastern Idaho Health Services, with or without reasonable

accommodation. Plaintiff was fully able to perform the essential functions of the positions she

held with Eastern Idaho Health Services.

                                 PROCEDURAL REQUIREMENTS

          10.     Plaintiff Abbey Sessions has filed charges of unlawful employment practices with

the Equal Employment Opportunity Commission (“EEOC”) raising the issues complained of

herein.

          11.     Plaintiff received a Notice of Right to Sue from the Equal Employment

Opportunity Commission (“EEOC”) authorizing her to commence a civil action. Plaintiff has

filed this complaint within 90 days from the date she received her notice authorizing her to bring

actions.

                          COUNT I: (DISABILITY DISCRIMINATION)

                  (TITLE I OF THE AMERICANS WITH DISABILITIES ACT)

          12.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 11 as if

fully set forth herein.

          13.     Plaintiff Abbey Sessions began working for Eastern Idaho Health Services in

2002, and was employed by Eastern Idaho Health Services as an Interventional Radiology

Technologist, working in Bonneville County, Idaho, until she was terminated in violation of the


3 - COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 4 of 6



Americans with Disabilities Act on April 5, 2017. Plaintiff had time left on her 26 weeks of

general medical leave and had an additional 6 weeks of unpaid leave unexhausted at the time of

her termination.

        14.     On April 5, 2017, Plaintiff met with her supervisors Todd Russell, Kaylynne

Price, and a representative from Defendant’s Human Resources department. In that meeting,

Plaintiff told Defendant that she was healthy and ready to go to work full time, but that she still

had one more surgery to completely heal from her disability, but she would be back to work full

time before her 26 weeks of general medical leave and the remaining 6 weeks of unpaid leave

were exhausted. At that meeting, Defendant terminated Plaintiff because of her disability.

        15.     On January 8, 2018, Defendant was trying to fill Plaintiff’s previous position of an

Interventional Radiology Technologist, so Plaintiff reapplied. Defendant refused to rehire

Plaintiff because of her disability.

        16.     Eastern Idaho Health Services has refused to accommodate Plaintiff’s disability in

any way.

        17.     Plaintiff Abbey Sessions was and is qualified for her position at Eastern Idaho

Health Services and was and is able to perform the essential functions of such position.

        18.     Plaintiff Abbey Sessions was at all times relevant hereto and is a disabled

individual within the meaning of the Americans with Disabilities Act in that she has a disability

that substantially limits one or more major life activities.

        19.     Eastern Idaho Health Services engaged in unlawful intentional discrimination

against Plaintiff on the basis of disability in the terms and conditions of Plaintiff’s employment

and in her termination.


4 - COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 5 of 6



       20.     As a result of Eastern Idaho Health Services intentional acts alleged herein,

Plaintiff suffered emotional distress, mental anguish, embarrassment, loss of dignity and self-

esteem, humiliation, and loss of enjoyment of life, resulting in damages in such amount as may

be available under applicable law.

       21.     Eastern Idaho Health Services acts were done intentionally with an improper,

abusive, discriminatory motive, and with reckless indifference to Plaintiff’s federally protected

rights. Such conduct should not be tolerated by this society, and punitive damages as determined

by a jury and available under applicable law, should be awarded to punish Eastern Idaho Health

Services and deter such conduct in the future.

       22.     Plaintiff is entitled to attorney fees, expert witness fees, and costs incurred herein,

pursuant to one or more of the following statutes: 42 U.S.C. § 1988, 42 U.S.C. § 12205, Idaho

Code § 12-120, and any other applicable federal and/or state statute.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests this Court:

       1.      To assume jurisdiction over each of the causes set forth herein.

       2.      To declare Eastern Idaho Health Services conduct as alleged herein to be in

               violation of the ADA.

       3.      For back pay and benefits from the date of termination to date of trial, in an

               amount to be proven at trial;

       4.      For front pay and benefits from date of trial in an amount to be proven at trial as

               an equitable remedy in lieu of reinstatement;

       5.      For a permanent injunction enjoining Eastern Idaho Health Services, its owners,


5 - COMPLAINT AND DEMAND FOR JURY TRIAL
          Case 4:18-cv-00155-DCN Document 1 Filed 04/06/18 Page 6 of 6



             officers, management personnel, employees and all persons in active concert or

             participation with Eastern Idaho Health Services from engaging in any

             employment practice which discriminates on the basis of disability;

     6.      For general damages for Plaintiff’s emotional distress in an amount to be proven

             at trial;

     7.      For punitive damages in an amount to be proven at trial;

     8.      For pre-judgment interest at the highest applicable rate upon all amounts found

             due and owing;

     9.      For Plaintiff’s attorney fees, expert witness fees and court costs incurred in

             bringing this action; and

     10.     For such other and further relief as the court deems just and equitable.

     DATED April 6, 2018.

                                            THOMSEN HOLMAN WHEILER, PLLC


                                            By:           /s/
                                                    Jacob S. Wessel, Esq.


                               DEMAND FOR JURY TRIAL

     Plaintiff hereby demands trial by jury.

     DATED April 6, 2018.

                                            THOMSEN HOLMAN WHEILER, PLLC


                                            By:          /s/
                                                    Jacob S. Wessel, Esq.



6 - COMPLAINT AND DEMAND FOR JURY TRIAL
